          Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 1 of 6



 1   Michael W. Sobol (SBN 194857)                     Michael J. Stortz (SBN 139386)
     Roger N. Heller (SBN 215348)                      Marshall L. Baker (SBN 300987)
 2   LIEFF CABRASER HEIMANN &                          AKIN GUMP STRAUSS HAUER &
     BERNSTEIN, LLP                                    FELD LLP
 3   275 Battery Street, 29th Floor                    580 California Street, Suite 1500
     San Francisco, CA 94111-3339                      San Francisco, CA 94104-1036
 4   Telephone: 415.956.1000                           Email: mstortz@akingump.com
     Facsimile: 415.956.1008                           Email: mbaker@akingump.com
 5   Email: msobol@lchb.com                            Telephone: 415.765.9500
     Email rheller@lchb.com                            Facsimile: 415.765.9501
 6
     Daniel M. Hattis (SBN 232141)                     Seamus C. Duffy (pro hac vice)
 7   Paul Karl Lukacs (SBN 197007)                     Julie A. Busta (pro hac vice)
     HATTIS & LUKACS                                   AKIN GUMP STRAUSS HAUER &
 8   400 108th Ave. NE, Suite 500                      FELD LLP
     Bellevue, WA 98004                                Two Commerce Square
 9   Telephone: (425) 233-8650                         2001 Market Street, Suite 4100
     Facsimile: (425) 412-7171                         Philadelphia, PA 19103-7013
10   Email: dan@hattislaw.com                          Email: sduffy@akingump.com
     Email: pkl@hattislaw.com                          Email: jbusta@akingump.com
11                                                     Telephone: 215.965.1200
     Attorneys for Plaintiffs                          Facsimile: 215.965.1210
12   CHARLES TILLAGE and JOSEPH LOOMIS
                                                       Attorneys for Defendants
13                                                     COMCAST CORPORATION and
                                                       COMCAST CABLE
14                                                     COMMUNICATIONS, LLC
15
                                     UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                        SAN FRANCISCO DIVISION
18
     CHARLES TILLAGE and                           Case No. 3:17-cv-06477-VC-DMR
19   JOSEPH LOOMIS,
     Individually, As Private Attorneys General,   STIPULATION AND [PROPOSED]
20   and On Behalf of All Others Similarly         ORDER MODIFYING SCHEDULE
     Situated,
21
                       Plaintiffs,
22
     v.
23
     COMCAST CORPORATION; and
24   COMCAST CABLE
     COMMUNICATIONS, LLC, and
25   DOES 1-20, inclusive
26                     Defendants.
27

28
                                                                 STIPULATION AND [PROPOSED] ORDER
                                                                              MODIFYING SCHEDULE
                                                                       CASE NO. 3:17-CV-06477-VC-DMR
        Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 2 of 6



 1          Plaintiffs Charles Tillage and Joseph Loomis (together, “Plaintiffs”) and Defendants
 2   Comcast Corporation and Comcast Cable Communications, LLC (together, “Comcast”), by and
 3   through their undersigned counsel, respectfully submit this stipulation and proposed order
 4   requesting that the existing schedule and deadlines in this case be continued by approximately
 5   four (4) weeks, due to inadvertent delays in Comcast’s production of documents, as follows:
 6          WHEREAS, on July 6, 2020, at the joint request of the parties, the Court entered an Order
 7   modifying and establishing the current case schedule up to and including the hearing on
 8   Plaintiffs’ motion for class certification (Dkt. 105 “July 6 Scheduling Order”);
 9          WHEREAS, in requesting the July 6 Scheduling Order, which modified the then-existing
10   case schedule, the parties explained that they have been hard at work on discovery issues, but that
11   discovery was taking longer than had been anticipated, including due to delays associated with
12   the COVID-19 virus (Dkt. 104);
13          WHEREAS, under the July 6 Scheduling Order, Comcast’s deadline to substantially
14   complete its production of documents in response to Plaintiffs’ Amended First Set of Requests for
15   Production of Documents was July 31, 2020, and the remaining dates in the July 6, 2020
16   Scheduling Order followed the July 31, 2020 date (Dkt. 105);
17          WHEREAS, although Comcast made a production of documents on July 31, 2020,
18   Comcast has experienced unexpected delays in producing documents, including due to an
19   inadvertent processing error by its document review vendor, and as a result, Comcast’s substantial
20   completion of its document production (including a significant portion of Comcast’s document
21   production) will not occur until August 31, 2020;
22          WHEREAS, the parties have been engaged in further discovery as well, including:
23              •   On June 23, Comcast served its First Requests for Production of Documents on
24                  Plaintiffs. On July 23, 2020, Plaintiffs served written responses to Comcast’s First
25                  Requests for Production of Documents. On August 17, 2020, Plaintiffs made a
26                  production of documents in response to Comcast’s requests. The parties are
27                  meeting and conferring about Plaintiffs’ production; and
28
                                                                       STIPULATION AND [PROPOSED] ORDER
                                                    -2-                             MODIFYING SCHEDULE
                                                                             CASE NO. 3:17-CV-06477-VC-DMR
            Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 3 of 6



 1                  •   On July 24, 2020, Plaintiffs served a second wave of discovery requests including
 2                      further document requests, interrogatories and requests for admission.
 3              WHEREAS, due to the unexpected production delays, and to ensure there is sufficient
 4   time for the parties to substantially complete the appropriate discovery (including sufficient time
 5   with the documents before depositions), serve class certification expert declarations, and prepare
 6   class certification papers, the parties have agreed, subject to Court approval, to continue the
 7   existing case schedule and deadlines by approximately four (4) weeks.
 8              THEREFORE, IT IS HEREBY STIPULATED by the parties through their respective
 9   counsel, and subject to the Court’s approval, that the existing case schedule and deadlines are
10   hereby modified as follows:
11

12         Event                                  Current Deadline            Proposed New
                                                                              Deadline
13
           Comcast’s substantial completion       July 31, 2020               August 31, 2020
14         of agreed document production in
           response to Plaintiffs’ Amended
15         First Set of Requests for Production
           of Documents[1]
16
           Fact witness depositions for class   November 20, 2020             December 18, 2020
17         certification motion to be completed
18         Plaintiffs to serve any expert         December 10, 2020           January 7, 2021
           declarations in support of their
19         motion for class certification
20         Plaintiffs’ motion for class           January 14, 2021            February 11, 2021
           certification
21
           Depositions of Plaintiffs’ expert(s)   January 28, 2021            February 25, 2021
22         in support of class certification to
           be completed
23

24         Comcast to serve any expert            February 11, 2021           March 11, 2021
           declarations in opposition to
25         Plaintiffs’ motion for class
           certification
26
     [1]
27     This excludes certain requests and portions of requests as to which the parties continue to have
     outstanding disagreements as of this filing. Those documents, if they are to be produced, may be
28   produced on separate track(s).
                                                                          STIPULATION AND [PROPOSED] ORDER
                                                       -3-                             MODIFYING SCHEDULE
                                                                                CASE NO. 3:17-CV-06477-VC-DMR
       Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 4 of 6



 1
      Event                                     Current Deadline              Proposed New
 2                                                                            Deadline

 3    Comcast’s opposition to class             March 4, 2021                 April 1, 2021
      certification
 4
      Depositions of Comcast’s expert(s)        March 18, 2021                April 15, 2021
 5    in opposition to class certification
      to be completed
 6
      Plaintiffs’ reply in support of class     April 15, 2021                May 13, 2021
 7    certification

 8    Hearing on motion for class               May 6, 2021, 10:00 a.m.       June 3, 2021, 10:00
      certification                                                           a.m.
 9

10
     IT IS SO STIPULATED.
11
     Dated: August 18, 2020                   Respectfully submitted,
12

13                                            LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

14

15                                            By: /s/ Roger N. Heller
                                                 Roger N. Heller
16                                               Michael W. Sobol (SBN 194857)
                                                 Roger N. Heller (SBN 215348)
17                                               LIEFF CABRASER HEIMANN &
                                                 BERNSTEIN, LLP
18                                               275 Battery Street, 29th Floor
                                                 San Francisco, CA 94111-3339
19                                               Telephone: 415.956.1000
                                                 Facsimile: 415.956.1008
20                                               Emails: msobol@lchb.com
                                                            rheller@lchb.com
21
                                                 Daniel M. Hattis (SBN 232141)
22                                               Paul Karl Lukacs (SBN 197007)
                                                 HATTIS & LUKACS
23                                               400 108th Ave. NE, Suite 500
                                                 Bellevue, WA 98004
24                                               Telephone: (425) 233-8650
                                                 Facsimile: (425) 412-7171
25                                               Email: dan@hattislaw.com
                                                 Email: pkl@hattislaw.com
26
                                                 Attorneys for Plaintiff
27                                               CHARLES TILLAGE and JOSEPH LOOMIS

28
                                                                          STIPULATION AND [PROPOSED] ORDER
                                                     -4-                               MODIFYING SCHEDULE
                                                                                CASE NO. 3:17-CV-06477-VC-DMR
       Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 5 of 6



 1                                   AKIN GUMP STRAUSS HAUER & FELD LLP
 2

 3                                   By: /s/ Michael J. Stortz
                                        Michael J. Stortz
 4
                                        Michael J. Stortz (SBN 139386)
 5                                      Marshall L. Baker (SBN 300987)
                                        580 California Street, Suite 1500
 6                                      San Francisco, CA 94104
                                        Telephone: 415.765.9500
 7                                      Facsimile: 415.765.9501
                                        Email: mstortz@akingump.com
 8                                      Email: mbaker@akingump.com
 9                                      Seamus C. Duffy (pro hac vice)
                                        Julie A. Busta (pro hac vice)
10                                      Two Commerce Square
                                        2001 Market Street, Suite 4100
11                                      Philadelphia, PA 19103-7013
                                        Telephone: 215.965.1200
12                                      Facsimile: 215.965.1210
                                        Email: sduffy@akingump.com
13                                      Email: jbusta@akingump.com
14                                      Attorneys for Defendants,
                                        COMCAST CORPORATION and
15                                      COMCAST CABLE COMMUNICATIONS, LLC
16

17                                  [PROPOSED] ORDER

18

19         PURSUANT TO STIPULATION, IT IS SO ORDERED.

20

21   Date: _August 20, 2020______         _______________________________
                                          Hon. Vince Chhabria
22                                        United States District Judge
23

24

25

26

27

28
                                                                 STIPULATION AND [PROPOSED] ORDER
                                           -5-                                MODIFYING SCHEDULE
                                                                       CASE NO. 3:17-CV-06477-VC-DMR
        Case 3:17-cv-06477-VC Document 114 Filed 08/20/20 Page 6 of 6



 1                                       ECF CERTIFICATION
 2          Pursuant to Local Rule 5-1(i)(3), the filing attorney attests that he has obtained
 3   concurrence regarding the filing of this document from the signatories to the document.
 4

 5   Dated: August 18, 2020             /s/ Roger N. Heller
 6                                      Roger N. Heller
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                        STIPULATION AND [PROPOSED] ORDER
                                                    -6-                              MODIFYING SCHEDULE
                                                                              CASE NO. 3:17-CV-06477-VC-DMR
